Case 2:24-cv-00449-MCS-BFM Document 123 Filed 02/16/24 Page 1 of 2 Page ID #:388
Case 2:24-cv-00449-MCS-BFM Document 123 Filed 02/16/24 Page 2 of 2 Page ID #:389




  the simplifying or complicating of issues, proof, and questions of law which could
  be expected to result from a stay.” Id. (quoting CMAX, 300 F.2d at 268).

         Here, the parties’ interests and the orderly cause of justice favor a stay. The
  § 1407 motion may significantly impact these proceedings and require transfer of
  the case. The Court infers the parties’ interests favor a stay given their acquiescence
  to a significant extension of the pleadings stage of the case pending resolution of the
  § 1407 motion.

         The Court directs the Clerk to remove this case from the Court’s active
  caseload until further application by the parties or order of this Court. The parties
  shall file a joint status report within 120 days, and a further report every 120 days
  thereafter. Each report must state on the cover page the date the next report is due.
  Additionally, the parties must notify the Court within seven days of the resolution of
  the § 1407 motion.

  IT IS SO ORDERED.




   Page 2 of 2                   CIVIL MINUTES – GENERAL       Initials of Deputy Clerk SMO
